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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )      No. 4:09CR463 HEA
                                            )
JERRY MCCOMBS,                              )
                                            )
              Defendant.                    )

                                            ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Thursday, March 4, 2010, at 10:15 a.m. in the courtroom of the undersigned.

       Dated this 3rd day of March, 2010.




                                            ________________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE
